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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                          WESTERN DIVISION
11

12     CLIFTON MORROW,                            )   No. CV 22-893-CJC (PLA)
                                                  )
13                         Petitioner,            )
                                                  )   ORDER ACCEPTING MAGISTRATE
14                  v.                            )   JUDGE’S REPORT AND
                                                  )   RECOMMENDATION
15     JIM ROBERTSON,                             )
                                                  )
16                         Respondent.            )
                                                  )
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18           Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other records on file
19     herein, the Magistrate Judge’s Report and Recommendation (“R&R”), and petitioner’s objections
20     to the R&R. The Court accepts the recommendations of the Magistrate Judge.
21           ACCORDINGLY, IT IS ORDERED:
22           1.     The Report and Recommendation is accepted.
23           2.     Judgment shall be entered consistent with this order.
24           3.     The clerk shall serve this order and the jud
                                                             judgment
                                                                g ent on all counsel or parties
                                                               dgm                      part
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                                                                                          rties of record.
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26     DATED: -XQH
                                                            HONORABLEE CORMAC J. CARNEY
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27                                                          UNITED STA
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